Case 18-36401 Document 1 Filed in TXSB ogo'i"mMSctl-`;m§a§ of 8
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~@v 13 2018

United States Bankruptcy Couit for the:

v David J '*»-~ i
Southern District of Texas z ' ‘““'d‘ey' mark Of Cotirt
CaS€ number <lfknowni: Chapter you are filing under:
Chapter7
Chapter 11
n Chapter 12 . _ _ _
Cl chapteris : l;l Check if this is an

 

Officiai Form 101

amended filing

Vo|untary Petition for lndividua|s Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint caand iri joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The

same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possibie. |f two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

mdentify Yourself

 

 

 

 

with the trustee.
Suffix (Sr., Jr., il, ||l)

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name r

Write the name that is on your Pragatr

government-issued picture _ .

identification (for example, F"S‘ name F"S‘ name

your driver’s license or

passpor‘l). Middie name Middie name

Bring your picture Va'dya

identification to your meeting Lan name Lan name

Suffix (Si'., Jr., ||, i\|)

 

 

 

 

 

 

 

 

 

z. A|l other names you Pragati
have used in the last 8 First name First name
years
include your married or Middie name Middie name
maiden names. Vaidya
Last name Last name
First name First name
Middie name Middie name
Last name Last name
' 3. Only the last 4 digits of
your Social Security XXX _ XX ` -_5 _4_ _§- _5- XXX _ XX " -- -- -_ __
number or federal OR oR
Individuai Taxpayer
ldentification number 9XX ' XX ___ ___ gxx ' XX ' ___ ___ ___
(iT|N)

 

Ofiiciai Form 101 Voiuntary Petition for Individua|s Filing for Bankruptcy page 1

 

 

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Pragati

First Name

Debtor 1
Middie Name

Vaidya

Last Name

Case number <»fimowni

 

 

 

 

 

4. Any business names
and Employer
identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

m l have not used any business names or Ele.

 

Business name

 

Business name

About Debtor 2 (Spouse Only in a Joint Case):

n l have not used any business names or Ele.

 

Business name

 

Business name

 

 

 

 

 

 

 

 

|f your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

Same As Above

 

 

 

 

M 'E'N
'E`N____"‘__`__ 'E'iN_ __*______
5. Where you live |f Debtor 2 lives at a different address:
5531 Pine St
Number Street Number Street
Unit S
Houston TX 77081
City State ZlP Code City State ZlP Code
Harris
County County

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

Number Streei Number Street

P.O. Box P.O. Box

City State ZlP Code City State ZlP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

cl l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

El Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

m l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

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Voiuntary petition for individuals Filing for Bankruptcy

page 2

Debtor 1

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Praciati

First Na me

Middie Name

Vaidva

Case number irrimcwn)

 

Last Name

m Tell the Court About Your Bankruptcy Case

1.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

E] Chapter 7

m Chapter 11
l;l Chapter 12
El Chapter 13

 

11.

How you will pay the fee

U l will pay the entire fee when l file my petition. Piease check with the clerk's ofhce in your
local court for more details about how you may pay. Typica|ly, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

ill l need to pay the fee in installments if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in installments (Official Form 103A).

EZ\ l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, Waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the App/ication to Have the
Chapter 7 Filing Fee Wai`ved (Official Form 103B) and Hle it With your petition

 

 

 

 

 

thcial Form 101

 

 

 

 

Have you filed for g NO
bankruptcy within the
last 8 years? n Yes. District When Case number
MM / DD / YYYY
District When Case number
MM/ DD / YYYY
District When Case number
MM/ DD/¥YYY
. Are any bankruptcy No
cases pending or being
filed by a Sp°use who is m Yes. Debtor Relationship to you
not mmg th's ca_se w'th District When Case number, if known
you, or by a business MM / DD /YYyY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
iviM / DD / YYYY
D° _y°u rent your w No. Go to line 12.
res'den°e? n Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

l;l No. Go to line 12.

n Yes. Fill out initial StatementAbout an Eviction JudgmentAgainst You (Form 101A) and me it with
this bankruptcy petition.

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mem 1 Pragati

First Name Middie Name

Valdya Case number tirknown)

Last Name

meport About Any Businesses You Own as a Sole Proprietor

12.

 

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

w No. Go to Part 4.

n Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State Z|P Code

Check the appropriate box to describe your business:

l;l Health Care Business (as defined in 11 U.S.C. § 101(27A))
Cl Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
n Stockbroker (as denned in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

g None of the above

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtof?

For a dennition of small

business debtor, see
11 U.S.C. § 101(51D).

if you are H/ing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash~flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

L:l No. l am not filing under Chapter 11.

m No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

n Yes. l am filing under Chapter 11 and i am a small business debtor according to the debnition in the
Bankruptcy Code.

mkeport if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For examp/e, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

mNo

El Yes. What is the hazard?

 

 

 

if immediate attention is needed, why is it needed?

 

Where is the property?

 

N umber Street

 

 

City State ZlP Code

Voiuntary Petition for individuals Filing for Bankruptcy page 4

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Debtor 1 Prmtl

First Name Middie Name

Vaidva

Last Name

Case number tiiimown)

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briehng about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

|f you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Ofticial Form 101

About Debtor 1:

You must check one:

51 | received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certifcate and the payment
pian, if any, that you developed with the agency.

m | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but l do not have a
certificate of completion.

Withln 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

a l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the brieing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n | am not required to receive a briefing about
credit counseling because of:

E\ lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

Cl Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. i am currently on active military
duty in a military combat zone_

if you believe you are not required to receive a
briefing about credit counseling, you must me a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Onty in a Joint Case):

You must check one:

n | received a briefing from an approved credit
counseling agency within the 180 days beforel
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Vihthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

a i certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

lt the court is satisfied with your reasons you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

\;l l am not required to receive a briefing about
credit counseling because of:

D lncapacity. l have a mental illness or a mental
dehciency that makes me
incapable of realizing or making
rational decisions about finances

[] Disability. My physical disability causes me
to be unable to participate in a
briehng in person, by phone, or
through the internet, even after l
reasonably tried to do so.

C] Active duty. i am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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benton Praoati Vaidva

First Name Middie Name Last Name

Case number (iriinowni

 

Part 6: Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose,”

i._.l No. co io line ieb.
El Yes. co to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

n No. Go to line 16c.
n Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

 

 

11. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

ca No. l arn not filing under Chapter 7. Go to line 18.

El Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and [] No
administrative expenses
are paid that funds will be 5 YeS
available for distribution
to unsecured creditors?
ia. How many creditors do m 1-49 Cl 1,000-5,000 ill 25,001-50,000
you estimate that you El 50-99 El 5,001-10,000 lIi 50,001~100,000
°We? El 100-199 El 10,001-25,000 El More than 100,000
El 200-999
19. How much do you E| $0-$50,000 Cl $1,000,001-$10 million El $500,000,001-$1 billion

estimate your assets to
be worth?

E $50,001-$100,000
Ei $100,001-$500,000
E| $500,001-$1 million

El $10,000,001-$50 million
ill $50,000,001-$100 million
El $100,000,001-$500 million

ill $1,000,000,001-$10 billion
l;l $10,000,000,001-$50 billion
El lviore than $50 billion

 

20. How much do you
estimate your liabilities
to be?

m:ign below

For you

Ci $0~$50,000

Cl $50,001-$100,000
al $100,001-$500,000
Cl s500,001-s1 million

Cl si,ooo,ooi-sio million

El $10,000,001-$50 million
El $50,000,001-$100 million
El $100,000,001-$500 million

Cl ssoo,ooo,ooi-si billion

Cl $1,000,000,001-$10 billion
Cl $10,000,000.001-$50 billion
Cl Niore than 350 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

correct

|fl have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me till out
this document l have obtained and read the notice required by 11 U.S.C. § 342(b)_

l request relief in accordance with the chapter of title 11, United States Code, specihed in this petition.

l understand making a false statement concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x Pragati Vaidya

Signature of Debtor 1

Exeouied on 1 1/13/2018

X

Signature of Debtor 2

Executed on

MM / DD /YYYY

MM/ DD /YYYY

 

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Voiuntary Petition for individuals Filing for Bankruptcy

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Debtor 1 Praqatl Vaidva Case number tiri<nowni

First Name Middie Name Last Name

 

 

 

i, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eiigible. i also certify that i have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies certify that l have no
|f you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

by an attorney, you do not

For your attorney, if you are
represented by one

 

 

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attorney for Debtor MM / DD /YYYY
Printed name
Firm name .
Number Street
City State ZlP Code
Contact phone Email address
Bar number State

   

 

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Debtor 1 Pra.qati Vaidya Case number ririrnowni

First Name Middie Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court but you
bankrupr¢y Wifh°llf an should understand that many people find it extremely difficult to represent
attOrr\¢*il themselves successful|y. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
if you are represented by _
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page_ technical, and a mistake or inaction may affect your rights For example, your case may be
dismissed because you did not file a required document pay a fee on time, attend a meeting or
hearing, or cooperate with the court case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens you could lose your right to file another
case, or you may lose protections including the benefit of the automatic stay.

You must list ali your property and debts in the schedules that you are required to file with the
court Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfui, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is nied. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

El No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy fonns?

mNo

El Yes Name of Person ,
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, i acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if i do not properly handle the case.

xBgati Vaidya Ql)\)@LQ\-®)G/ X

 

Signature of Debtor 1 Signature of Debtor 2

 

 

Date 11/13/2018 Date
lviM / DD /YYYY iviivi/ no /YYYY
contact phone (713) 306-6336 contact phone
cell phone (71 3) 306-5336 cell phone
Email address Vaidya.pragarl@yahOO.COm Email address

 

   

t/NMz/~..

   

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